                    UNITED
                       CaseSTATES  BANKRUPTCY
                            16-17451-RBR     Doc 68COURT,
                                                        Filed SOUTHERN
                                                              01/13/17 Page DISTRICT
                                                                                1 of 2OF
                                               FLORIDA
                                CHAPTER 13 PLAN (Individual Adjustment of Debts)
                       X FOURTH Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                    Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: J U N E B A I L E Y ,        JOINT DEBTOR: M A R K B A I L E Y CASE NO.: 16-17451
Last Four Digits of SS# 5656         Last Four Digits of SS# 2282
MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion
date, Debtor(s) to pay to the trustee for the period of 36 months. In the event the trustee does not collect
the full 10%, any portion not collected will be paid to creditors pro-rata under the plan:
  A. $ 1,265.00 for months 1 to 5             ;
  B. $ 110.00 for months 6 to 36 ; in order to pay the following creditors:

Administrative: Attorney's Fee - $   3,500.00
                         Costs:        150.00
              Modification Fee       2,500.00
                         Costs         100.00
                  Balance Due $      6,250.00
                     Total paid:     1,000.00
                  Balance Due:        5,250.00 payable $1,050.00/month (Months 1 to 5)

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or
Personal Property:
1. _______________________________ Arrearage on Petition Date$ n/a
 Address:                             Arrears Payment $ n/a
                                      Arrears Payment $       /month (Months 1 to 36)
  Account No:                         Regular Paymen $        /month (Months 1 to 36)

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED
ON YOU PURSUANT TO BR 7004 and LR 3015-3.

    Secured Creditor Description of            Interest       Plan        Months of               Total Plan
                      Collateral and             Rate
                                                              Payments    Payment                 Payments
                      Value of
                      Collateral
Specilized Loan      $228,380.00                   0% $0                  1        To 36
Servicing                                                                                            0
8742 Lucent Blvd,       554 NW 158th Lane,
Suite 300               Pembroke Pines, Fl
Highlands Ranch,
Colorado 80129
Acct. No. 6960
                        $                          %      $                        To
                         $                       %   $                             To
Priority Creditors: [as defined in 11 U.S.C. §507]
1.                      Total Due $     Payable$ /month (Months               to    ) Regular Payment $

Unsecured Creditors: Pay $ 100.00/month (Months 1 to 36).

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:

Debtor shall provide copies of yearly income tax returns to the Trustee no later than May 15th during the
pendency of the Chapter 13 case. In the event the Debtor’s income or tax refunds increase, Debtor shall
increase payments to unsecured creditors over and above payments provided through the plan up to 100% of
allowed unsecured claims.

After denial of modification, Debtor abandons her interest in the real property known as 554 NW 159th Lane,
Pembroke Pines, Fl and surrenders her interest to BSI Financial as servicer Nationstar Mortgage, Mahogany
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Way HOA and Towngate Master Association.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
 /S/ Christine E. Bryce, Esq.
Debtor                                                Joint Debtor
Date:     1/13/2017                                   Date:



LF-31 (rev. 01/08/10)
